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                   AFFIDAVIT IN SUPPORT OF SEARCH WARRANTS
                           AND CRMINAL COMPLAINT

       I, Richard Connors, being first duly sworn, hereby depose and state as follows:

I.     AGENT BACKGROUND AND INFORMATION

       1.      I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a search warrant authorizing the examination of property, a

residential dwelling, and the extraction from that property of evidence described in Attachment

B.

       2.      I am employed as a Special Agent with the United States Department of Justice,

Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) assigned to the Milwaukee Field

Office since October of 2015. I have been employed as a full time law enforcement officer for

over 2 and a half years. I have received training at the Federal Law Enforcement Training Center

in Glynco, GA. I attended the Criminal Investigator Training Program, as well as ATF’s Special

Agent Training Program. I have received training in the investigation of unlawful possession of

firearms, the unlawful transfer of firearms, and the unlawful dealing in firearms without a

dealers’ license. Prior to becoming a Special Agent with the ATF, I received two (2) bachelor’s

degrees from Northern Illinois University in the fields of Sociology and International Relations. I

have received a Master’s degree from Northern Illinois University in the field of American

Government.

       3.      I have received training in the investigation of firearms trafficking, and I work

alongside several senior ATF agents who have worked extensive firearms trafficking investigations




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in the past. Based on my training, experience, and participation in firearms trafficking investigations,

I know and/or have observed the following:

         a. I have utilized informants to investigate firearms and drug trafficking. Through
            informant interviews and debriefings of individuals involved in firearms and narcotics
            trafficking, I have learned about the manner in which individuals and organizations
            distribute both in Wisconsin;

       b.    I have also relied on informants to obtain firearms and drugs from individuals on the
             streets (as opposed to licensed gun dealers), known as a controlled purchase;

       c.    I have experience conducting street surveillance of individuals engaged in firearms
             and drug trafficking. I have participated in the execution of numerous search warrants
             where narcotics, firearms, ammunition, magazines, and firearms cases have been
             seized;

       d.    I am familiar with the language utilized over the telephone to discuss firearms and
             drug trafficking, and know that the language is often limited, guarded, and coded;

       e.    I know that firearms and drug traffickers often use electronic equipment, wireless and
             land-line telephones, and pagers to conduct firearms trafficking operations;

       f.    I know that drug traffickers commonly have in their possession, and at their residences
             and other locations where they exercise dominion and control, firearms, ammunition,
             and records or receipts pertaining to such;

       g.    I know that firearms and drug traffickers often put their telephones in nominee names
             to distance themselves from telephones that are utilized to facilitate firearms
             trafficking;

       h.    I know that firearms and drug traffickers often use proceeds to purchase assets such
             as vehicles, property, jewelry, and narcotics. I also know that firearms and drug
             traffickers often use nominees to purchase and/or title these assets to avoid scrutiny
             from law enforcement officials; and

       i.    I know that firearms traffickers often use online firearms brokerage websites, such as
             “Armslist,” to obtain firearms. I know that individuals who utilize “Armslist,” will
             contact other users of the site regarding the sale of firearms via electronic mail
             (hereinafter referred to as EMAIL) and exchange phone numbers. Individuals then
             discuss price and meet up locations to exchange money for the firearms by phone.
             Individuals are not required to complete background checks through “Armslist,” and


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             individuals often do not check to see if the person to whom they are transferring the
             firearm is a convicted felon.

        4.      I have participated in several firearms and drug trafficking investigations that

involved the seizure of computers, cellular phones, cameras, and other digital storage devices,

and the subsequent analysis of electronic data stored within these computers, cellular phones,

cameras, and other digital storage devices. On many occasions, this electronic data has provided

evidence of the crimes being investigated and corroborated information already known or

suspected by law enforcement.

        5.      I have participated in several firearms and drug trafficking investigations that

involved the use of social media as a means of commmunitcation for the individuals involved in

firearms trafficking. Social media allows the user to send and receive pictures/text

messages/audio calls, etc. in order to facilitate their transactions.

        6.      The facts in this affidavit come from my personal observations, my training and

experience, information obtained from witnesses, and information obtained from other agents

during the course of their official duties, all of whom I believe to be truthful and reliable. This

affidavit is intended to show merely that there is sufficient probable cause for the requested

warrant and does not set forth all of my knowledge about this matter.

        7.      Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that violations of Title 18, United States Code, Section

922(g)(3) (possessing firearms or ammunition as an unlawful user of or as an addict to any

controlled substance), Title 18, United States Code, Section 922(g)(1) (possessing firearms or

ammunition as a convicted felon), Title 18, United States Code, Section 922(d)(1) (selling or


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disposing of any firearm or ammunition to a known felon), and Title 18 United States Code,

Section 922(a)(1) (dealing firearms without a license) and Title 21, United States Code, Section

841(a)(1) (distribution of a controlled substance) have been committed by Antwuan D. Pugh and

his brother Kenyon Q. Pugh. Finally, there is also probable cause to search the information

described in Attachment A for evidence of these as described in Attachment B.

II.    PROPERTY TO BE SEARCHED AND PERSON TO BE ARRESTED

       8.      This affidavit is made in support of an application for a warrant to search the

residence of Antwaun PUGH located at 82         N. 107th St., Apt. #    , Milwaukee, WI, 53224, to

include all basement and garage type areas controlled by Antwaun PUGH as well as all vehicles

tied to the property. The structure lies within the Park Club apartment complex. The structure is

half brick, half white wood with a blue exterior door. Directly to the right of the exterior door to

PUGH’s structure are the numbers “82      .”

       9.      This affidavit is also made in support of application for a warrant to search the

residence of Kenyon PUGH located at 39         W. Good Hope Rd., Apt.      , Milwaukee, WI,

53209, to include all basement and garage type areas controlled by Kenyon PUGH along with all

vehicles controlled by the inhabitents of 39    W. Good Hope Rd., Apt. #       Milwaukee, WI,

53209. The apartment lies within a red brick multi unit building. The numbers “39 ” appear

above a glass door that faces W. Good Hope Road.

       10.     The applied for warrant would authorize the search and recovery of evidence

particularly described in attachment B.

       11.     Based upon the foregoing, I also believe probable cause exists to arrest Antwaun

D. Pugh for the aforementioned violations.

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III. PROBABLE CAUSE

         A.    Vehicle Stop of Antwuan PUGH and Search Warrant at the PUGH
               Residence

         12.   On December 1, 2015, City of Miwaukee Police Department officers (MPD)

conducted a traffic stop of a 2000 black Lincoln town car, bearing state of Wisconsin license

plate 922-XXN. Antwuan PUGH (DOB XX/XX/1993) was driving the aforementioned vehicle,

which was registered to his mother. During a search of the vehicle, MPD recovered 0.7 grams of

green leafy substance that field tested positive for THC, the active ingredient in marijuana. Also

recovered from Antwuan PUGH’s person was a White Samsung touchscreen cell phone, model

number SM-G360T1. Shortly after the traffic stop, MPD executed a search warrant at 81        N.

Granville Road, Milwaukee, WI, 53224.

         13.   On December 1, 2015, upon his arrest, Antwuan PUGH gave a recorded

statement after being read his Miranda rights which PUGH understood and agreed to waive.

Antwaun PUGH stated he always smokes marijuana when he feels in a “chill” mood. Antwuan

PUGH stated he was arrested after officers located a bag of marijuana in his vehicle. Antwuan

PUGH further stated that his brother, Kenyon PUGH, has access to his bedroom at the residence

on N. Granville Road and would utilize it to change clothing and occasionally leave personal

items.

         14.   Law enforcement believes Antwuan PUGH and his older brother, Kenyon PUGH

(DOB XX/XX/1986) resided at 81        N. Granville Road, Milwaukee, WI on December 1, 2015.

Agents had conducted surveillance at the residence, and observed Antwuan PUGH exiting in and


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out of the residence on several occasions, and entering and exiting a 2000 black Lincoln town

car, bearing state of Wisconsin license plate 922-XXN.

       15.     Officers searched the bedroom believed to be shared by Antwuan and Kenyon

PUGH, and recovered the following: (1) paper identifiers for Kenyon PUGH, along with an

envelope marked “Tweezy,” a known nickname for Antwuan PUGH; (2) 1.9 grams of green

leafy plant like substance which field tested positive for the presence of THC; (3) two firearms:

an Armscor of the Philippines handgun, model M1911-A1-FS, .45 caliber, bearing serial number

RIA1686424; and a Glock handgun, model 21, .45 caliber, bearing serial number TNY752. Law

enforcement located several assorted brands and calibers of ammunition and several different

magazines for firearms throughout the house. Additionally, law enforcement located the

following empty gun boxes in the residence: Glock hangun boxs, model 23, .40 caliber, bearing

serial numbers MHZ778, MHT876, PVL502; Glock handgun box, model 21, .45 caliber, bearing

serial number TNY752; Glock handgun box, model 22c, .40 caliber, bearing serial number

GHU315; one black plastic Intratec, 9mm, firearms case; one black plastic firearms case for a

Armscor of the Philippines handgun, model M1911-A1-FS, .45 caliber, bearing serial number

RIA1686424; one plastic black Plano firearms case; and one black cardboard Bersa handgun box

for a model Thunder 45, .45 caliber, bearing serial number SG2977.

       16.     Antwuan PUGH has never been convicted of a felony offense.

       B.      The Pugh Brothers’ Involvement with Firearms

       17.     On December 6, 2014,                        sold a Glock handgun, model 33, .45

caliber, bearing serial number XEH452, to Antwuan PUGH for $500. Mr.                located the

firearm bill of sale and provided a copy to affiant. On the bill of sale form underneath the

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“buyer” section, Antwuan PUGH filled in his contact information with an address of 8142 N.

Granville Road. Mr.          indicated that he was contacted via “Armslist” for the purchase of

the firearm. Mr.        stated that after contacting the individual via “Armslist,” he exchanged

phone numbers with the potential buyer, and the two then began exchanging phone calls and text

messages. The number that Mr.           utilized was 414-216-      . Mr.         stated that

Antwuan PUGH utilized the telephone number 414-233-             for the aforementuioned firearms

transaction.

         18.    Affiant performed a law enforcement query of the telephone number 414-233-

       . This query revealed that the number came back as an active number for Kenyon PUGH.

Kenyon PUGH provided that particular number to law enforcement as his contact number when

he was cited for excessive noise under Milwaukee County Municipal citation number

48923711239. Additionally, Kenyon PUGH provided the contact number of 414-233                  to the

Wisconsin Department of Corrections (DOC) on two separate occasions in 2015 as his personal

contact number. Kenyon PUGH is prohibited from possessing firearms because he is a convicted

felon under Wisconsin Court Case 2011CF002789 for aggravated battery with intent to cause

bodily harm, a Class H felony, Wisconsin Court Case 2008CF000265 for receiving stolen

property greater than $10,000, a Class G felony, and Wisconsin Court Case 2005CF006515 for

disorderly conduct while armed, a Class B misdemeanor in Wisconsin.

         19.    Affiant was able to obtain cell phone toll records for the telephone number 414-

233-       during the time of the aforementioned firearms transaction. Based on the obtained cell

phone toll records obtained by your affiant for the number 414-233-        , affiant was able to

view several calls and texts that were made between 414-233         (believed to be Kenyon

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PUGH) and 414-216-           (                  ) on December 6, 2014. Shortly after 414-233-

     (Kenyon PUGH) contacted 414-216-                                  , 414-233-       then

contacted the telephone number 414-595-         . Affiant performed a law enforcement query for

the telephone number 414-595-         which revealed the number belonged to Antwaun PUGH.

Antwuan PUGH provided the number of 414-595-              to the Milwaukee County Sheriff’s

Office on December 8, 2014, as his personal contact number. Toll records revealed that the

number listed for                     , was contacted by the number listed for Kenyon PUGH.

The number for Kenyon PUGH then contacted the number for Antwuan PUGH several times

before Antwuan PUGH met with                            to conduct the firearms transaction.

       20.     Affiant is aware that law enforcement recovered the .45 caliber Glock handgun,

bearing serial number XEH452, from J.R. on September 16, 2015. J.R. is a convicted felon prior

to this event, and pled guilty to being a Felon in Possession of a Firearm in the Eastern District of

Wisconsin.

       21.     On April 18, 2016, affiant interviewed                   regarding a Glock

handgun, model 21, .45 caliber, bearing serial number TNY752. Mr.               indicated that he

sold the firearm on “Armslist” on November 9, 2015. Mr.             produced a cell phone bill for

his number 301-659         . Mr.         was able to show that the number he negotiated the

firearm deal with was 414-233-        (Kenyon PUGH). Mr.              stated he met the individual

at the Park and Ride in Johnsons Creek, WI. Mr.            stated the purchaser of the firearm was

the passenger of a Yellow Monte Carlo, a black male, roughly 260-270 pounds with “shaggy”

hair. Mr.           observed several photos and identified a MPD booking photo of Antwuan

PUGH as the individual who possibly purchased the firearm. Mr.              was not certain due to

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differing skin tones but could recall the letter D as the middle intitial on the person who bought

the firearms identification card. Mr.         stated he received around $400 to $450 dollars for

the firearm. Mr.          stated he believed the vehicle to be an older model Chevrolet Monte

Carlo.

         22.    On December 1, 2015, law enforcement recovered the Glock handgun, model 21,

.45 caliber, bearing serial number TNY752, from Antwuan PUGH’s residence located at 81            N.

Granville Road, Milwaukee, WI, 53224, as detailed in Paragraph 10 of this affidavit.

         23.    Affiant interviewed                   in regard to three (3) Glock handguns, model

23, .40 caliber, bearing serial numbers MHT876, PVL502, MHZ778, respectively. Mr.

indicated he sold the firearms on “Armslist,” on November 15, 2015 to Antwuan PUGH. Mr.

           stated that, before he sold the firearms to Antwuan PUGH, he observed Antwuan

PUGH’S driver’s license, and the photograph on the license matched the individual identifying

himself as Antwuan PUGH. Mr.                indicated that he queried Antwuan PUGH in the

Wisconsin Circuit Court Access Program (CCAP) and the results revealed that Antwuan PUGH

was not a convicted felon in the state of Wisconsin. Mr.            stated that the person who he

contacted regarding the firearms transaction utilized the number 414-233          (Kenyon PUGH).

Mr.            had Antwuan PUGH fill out three (3) bills of sale for the firearms. Antwuan PUGH

wrote the telephone number 414-233-          on each bill of sale. Mr.          received $1,250.00

for the three (3) firearms.

         24.    Affiant was able to obtain telephone toll records for the firearms transaction

between Derek                 and Antwuan PUGH. Mr.            utilized the telephone number 262-

853-      . Records reflect that the telephone number 414-233-           (Kenyon PUGH) sent and

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exchanged text messages with Mr.             on November 13, 2015. The next day, November

14, 2015, the telephone number 414-233-        (Kenyon PUGH) called the number 414-793-

several times, and each call appears to have been answered. The telephone number 414-793-

     was provided by Antwuan PUGH to MPD on December 1, 2015, as his personal contact

number when he was stopped and arrested that same day.

       25.     The Glock handgun, model 23, .40 caliber, bearing serial number MHT876, was

recovered during a traffic stop by MPD on March 1, 2016. Located inside the vehicle officers

found a convicted felon and three other individuals, all of whom have suspected ties to narcotics

trafficking in the Milwaukee County area. The other two Glock handguns purchased by Antwuan

PUGH on November 15, 2015 from Mr.                , have yet to be recovered by law enforcement.

       26.     On August 12, 2016, affiant telephonically interviewed             regarding a

SCCY Industries LLC handgun, model CPX-2, 9mm, bearing serial number 105111. Mr.

stated he sold the firearm on “Armslist” to a person with the initial EMAIL address of

                       (it should be noted Kenyon Pugh was born in 1986). Mr.            stated the

two moved to telephone communication from the number 414-233-            (Kenyon PUGH). Mr.

      stated he sold the firearm on November 22, 2015. Mr.         could not recall who bought

the firearm; however, he did remember the license plate. Mr.       explained the person arrived

to the Cabellas in Richfield, WI, in a Yellow Chevrolet Monte Carlo bearing Wisconsin license

plate 274-XET. This vehicle is registered to Chaniqua L. BELL. Affiant believes that BELL is a

longtime girlfriend of Kenyon PUGH, and Affiant has observed during surveillance her yellow

Chevrolet Monte Carlo at the PUGH’s residence on Granville Road several times. Mr.

stated he negotiated the transaction from whom he believed to be a male, and a black male and

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female arrived to conduct the transaction. Mr.        stated the female handled the paperwork and

the firearm, and the black male made some sort of comment that “he was a Glock guy.”

       27.     Mr.       eventually located a bill of sale for the firearm and provided it to your

affiant. The purchaser of the firearm was identified as Chaniqua L. BELL.

       28.     The firearm sold from Mr.         to BELL was recovered on April 28, 2016, by

MPD. The firearm was recovered during the commission of an armed robbery commited by D.D.

D.D. subsequently pled guilty to a Hobbs Act robbery, use of a firearm during and in relation to

the robbery, and an attempted Hobbs Act robbery in August 2016 in the Eastern District of

Wisconsin.

       29.     On March 22, 2016, affiant interviewed                 regarding a Kahr Arms

handgun, model CW-45, bearing serial number SG2977. Mr.            indicated he sold the firearm

on “Armslist,” an online firearms brokerage website, in September of 2014.

       30.     On December 1, 2015, law enforcement recovered the aforementioned firearm

box (box only) from Antwuan PUGH’s residence located at 81         N. Granville Road, Milwaukee,

WI, 53224, as detailed in Paragraph 15 of this affidavit.

       31.     Utilizing the National Integrated Ballistic Information Network (hereinafter

refered to as NIBIN), a software used to match shell casings from a crime scene to a particular

firearm, MPD was able to match two separate crime scenes to the Kahr Arms handgun. The first

incident occurred on February 11, 2015. In this incident, the victim was shot in the neck by the

aforementioned firearm and later died from this injury. The second incident occurred on

February 15, 2015. In this incident, an unknown actor discharged the aforementioned firearm

within one hundred (100) yards of an occupied dwelling within the City of Milwaukee.

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       32.      MPD recovered the Kahr Arms handgun from A.K.D. on April 16, 2015, when he

was arrested for carrying a concealed weapon. A.K.D. indicated he purchased the firearm from a

person named “Dooky” in Milwaukee around March of 2015. At the time of the firearm’s

recovery A.K.D. was not a convicted felon.

       33.      On April 8, 2016, affiant interviewed                      regarding a Glock

GMBH handgun, model 22C, .40 caliber, bearing serial number GHU315.                 indicated he

purchased the firearm in November of 2014. Affiant was able to aquire ATF multiple sale form

M20140277848, which revealed               purchased the firearm on November 3, 2014.

           indicated he sold the firearm on “Armslist” to an individual he knew to be K.S. on May

7, 2015.           believed K.S. to be an Asian American male.

       34.      On December 1, 2015, law enforcement recovered the gun box for the Glock

GMBH handgun, model 22C, .40 caliber, bearing serial number GHU315, from Antwuan

PUGH’s residence located at 81      N. Granville Road, Milwaukee, WI, 53224, as detailed in

Paragraph 10 of this affidavit.

       35.      Utilizing NIBIN, MPD was able to match the casings from the Glock GMBH

handgun, model 22C, .40 caliber, bearing serial number GHU315, to a homicide that occurred in

Rockford, Illinois, on December 16, 2015. The victim was a seventeen-year old male.

       36.      On April 9, 2016, the Glock GMBH handgun, model 22C, .40 caliber, bearing

serial number GHU315, was recovered in the City of Milwaukee. Possessing the firearm was

D.W. D.W. is a convicted felon. As a result of D.W.’s possession of the Glock, D.W.

subsequently pled guilty to being a Felon in Possession of a Firearm.



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       37.     On February 22, 2016, affiant interviewed                 regarding a Armscor of

the Philippines handgun, model M1911-A1, .45 caliber, bearing serial number RIA1686424. Mr.

      indicated he sold the firearm on “Armslist,” sometime in September of 2015. Mr.

stated he saw the exact firearm for sale back on “Armslist” for a higher listed price in October of

2015. Mr.        stated he believed it was the same firearm due to the unique white grips affixed

to the firearm. Mr.         could not provide a name for the person to whom he sold the firearm.

       38.     On November 22, 2015, the aforementioned firearm was believed to be utilized in

a shooting that occurred into a house located at 86XX N. 106th St., Milwaukee, WI. At the time

of the shooting, witnesses observed a black Lincoln town car speed away from the scene of the

shooting. Law enforcement officers know that Antwuan PUGH operates a black Lincoln town

car bearing state of Wisconsin license plate 922-XXN, as evidenced by the vehicle stop on

December 1, 2015, and as detailed in Paragraph 12 of this Affidavit.

       39.     On December 1, 2015, law enforcement recovered the Armscor of the Philippines

handgun, model M1911-A5, .45 caliber, bearing serial number RIA1686424, in Antwuan

PUGH’s bedroom, as detailed in pagagraph 11 of this affidavit. This firearm NIBIN tested

positive to the shell casings recovered from the scene of the shooting that occurred on November

22, 2015 on 106th Street.

       C.      Antwuan PUGH’s Post-Arrest Statement and Other Records

       40.     On December 1, 2015, during Antwuan PUGH’s recorded mirandized statement,

Antwuan PUGH stated that the firearms located in the house were in his bedroom and that both

firearms in his bedroom were purchased by a girlfriend. Antwuan PUGH stated he bought three

(3) or four (4) guns that year and had already sold them. Antwuan PUGH stated he sold a Glock

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firearm on the “street” and he did not know the person’s name, Email, or phone number.

Antwuan PUGH further stated that he had the two Glock firearms from the cases in his bedroom,

but he sold those as well. Antwuan PUGH stated he has never bought a firearm at a gun store and

only off of “Armslist” because it is cheaper.

       41.     On April 21, 2016, affiant received copies of reported wages from the Wisconsin

Department of Workforce Development (DWD) for Antwuan and Kenyon PUGH. The DWD

report outlines a person’s reported earnings for any given particular year. In 2015, the PUGH

brothers reported earning a combined $243.86. In November of 2015 alone, Antwuan PUGH

spent a combined $1,700 on four (4) Glock handguns from two different individuals. From

December 2014 through Novemebr 2015, the PUGHs are suspected of purchasing eleven (11)

firearms off of “Armslist,” many of which have been recovered during the commission of crimes

throughout the city of Milwaukee.

       D.      Antwuan and Kenyon PUGH’s Post Search Warrant Activity

       42.     On March 11, 2016, Kenyon PUGH was a victim of a non-fatal shooting where he

was struck in the left calf. The incident occurred at 64   N. 106th St., Milwaukee, WI. Located

at the scene was a white Lexus RX300 bearing state of Wisconsin License plate number 274-

XET. A check of the registration revealed that it listed to to Regina Pugh (Kenyon and Antwuan

PUGH’s mother). Located in the center console of the vehicle was one (1) black 9mm M&P

magazine containing four (4) unfired 9mm Aguila cartriges. Recovered from the scene were four

(4) spent 9mm Aguila shell casings. Witnesses observed an individual running from the scene

where the shooting occurred. This individual jumped into a Yellow, Chevrolet Monte Carlo.



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Footage from the hospital where Kenyon PUGH was taken showed Kenyon PUGH being

dropped off in a Yellow, Chevrolet Monte Carlo.

        43.   Kenyon PUGH was interviewed at the hospital regarding this incident. Initially,

Kenyon PUGH stated his name was Antwuan PUGH. Kenyon PUGH also stated the shooting

occurred at a different address. Recovered inside of Kenyon PUGH’s pocket was a key to the

Lexus, which was recovered from the scene of the shooting. When investigators confronted

Kenyon PUGH regarding the inconsistencies in his statement, he continued to deny any

involvement with the white Lexus, and the shooting on 106th Street.

        44.   Kenyon PUGH was subsequently arrested for a violation of parole order

following the shooting. Kenyon PUGH was incarcerated within the Wiscosnin Department of

Corrections until he was released on February 21, 2017.

        45.   On July 17, 2016, MPD exeucuted a search warrant at 36XX N. Palmer Street in

Milwaukee. MPD recovered several firearms during the course of the search warrant, along with

several calibers of ammunition, various gun cases, and holsters. MPD sent the property to their

forensic examantion division. Item number 9, under MPD inventory number 1602526, is a black

and blue FNH gun case with a plastic ziplock bag recovered from inside the case. MPD

identified Antwuan PUGH’s fingerprints from the plastic bag recovered from inside the gun

case.

        46.   Based upon my training and experience, I know that all the firearms referred to

above are not manufactured in Wisconsin and have therefore traveled in interstate commerce in

order to reach Wisconsin.



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       E.       Antwuan PUGH’s Cell Phone

       47.      On June 29, 2017, your affiant obtained a federal search warrant signed by the

Honorable Magistrate Judge David Jones for one (1) white Samsung touchscreen cell phone

bearing serial number 354335/07/551193/3 (Device A). MPD recovered Device A from

Antwaun PUGH on December 1, 2015.

       48.      On July 10, 2017, affiant examined the contents of Device A. The first section

examined was entitled “Facebook Chat.” Affiant is aware that individuals can utilize “Facebook

Messenger” to communicate with other persons who have Facebook accounts. Individuals can

utilize “Facebook Messenger” without a wireless connection to their mobile devices. Facebook

Members can utilize any wi-fi network to access “Facebook Messenger.” Your affiant

recognized the Facebook profile “Twez Knockavitch” as a previous Facebook profile for

Antwuan PUGH. Affiant viewed pictures for this Facebook profile, and these pictures match an

MPD booking photo of Antwuan PUGH.

       49.      On several posts made by this profile, the user states his/her telephone number is

793-         which is the number that Antwuan PUGH provided to MPD on December 1, 2015, as

referenced in Paragraph 19 of this affidavit.

       50.      Throughout the Facebook chat, the user “Twez Knockavitch” makes several posts

regarding narcotics and firearms. For example, between February 29, 2016 and August 20,

2017, the user “Twez Knockavitch” refereced the sale and acquisition of marijuana and ecstacy

and sent photographs depicting what appears to be marijuana and ecstasy pills to potential

customers. With regard to firearms, between February 16, 2016 and July 26, 2017, the user

“Twez Knockavitch” referenced the sale and acquisition of firearms by referring to kinds and

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prices of firearms and sent photograhps depicting what appears to be firearms to potential

customers. Additionally, the profile “Twez Knockavitch” made several references to possessing

“heats,” which I know is a common street term for a firearm.

       51.     Furthermore, on November 23, 2015, the profile “Twez Knockavitch” posted the

following comment in a group chat setting: “I shot they ass up the nigga momma don’t want me

to hurt him she gave me 375 cause the pulled off wit my pills.” Further in the conversation, this

user posts “I gave dude the pills he got in the truck like he was gonna count them instead he

pulled off I shot 12 times fuck they van up I turn around they seen me shot once I roll my

window down shot my last 3 pulled off made sure I want followed duck my car at Jessie crib call

my nigga and he called his mom she paid me.” Affiant believes Antwuan Pugh refered to the

shooting that occurred on November 22, 2015, as described in this affidavit.

       52.     Affiant examined the text message portion of the cell phone. Your affiant

observed several messages between Antwuan and Kenyon PUGH, dated November 30, 2015,

regarding the sale and trade of firearms, types of firearms, and prices of firearms. Antwuan

PUGH sent photos of firearms to Kenyon PUGH as well. Also in November 2015, Antwuan

PUGH exchanged several text messages with other individuals who were inquiring about

firearms that he had for sale. The subject of these message often included the prices of firearms.

       53.     Affiant examined the photo portion of the cell phone. Affiant was able to view

several pictures of handguns that Antwuan PUGH sent to various individuals. On November 24,

2015, Antwuan PUGH created a photo of what appears to be him holding a model 1911, .45

caliber handgun, the same caliber handgun used in the shooting on November 22, 2015. Your



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affiant was able to view several different types of firearms displayed within the contents of

Antwuan PUGH’s cell phone.

       F.      Antwuan PUGH’s Facebook account “Tywaun Knockavitch”

       54.     On August 25, 2017, your affiant obtained a federal search warrant for the

contents of the Facebook page “Tywaun Knockavitch” with a corresponding Facebook ID of

10011308302732. The warrant was authorized by the Honorable Judge William E. Duffin. Your

affiant obtaind the results of that warrant on Septmeber 27, 2017, the results covered the date of

December 1, 2014 through August 25, 2017. Your affiant examined the posts and identified

several key conversations that demonstrate narcotics and firearms distribution commited by

Antwuan PUGH. For example, on January 18, 2017, “Tywaun Knockavitch” engaged in a

conversation with “             ” where        requested “130 a half.” Your affiant is aware that

“half” can often refer to a half ounce of an illegal substance, with “130” referring to the price for

half an ounce.” In addition, from the date ranges between March 7, 2016 and August 20, 2017

Antwuan PUGH referred to sales and purchases of ecstasy. For example, on April 2, 2017,

Antwuan PUGH conversed with “                       ” who inquired about the price of pills.

Antwuan PUGH responded, “5” and sent a picture of pills believed to be ecstasy.

       55.      Antwuan PUGH also made several references to the acquisition and sale of

firearms within his Facebook page from dates ranges February 16, 2016, through July 26, 2017.

For instance, betweem May 21-23, 2017, Antwuan PUGH conversed with “                    ” regarding

the sale/purchase of firearms. Antwuan PUGH sent pictures of the different firearms that were

for sale. Antwuan PUGH refers to two of the firearms as “9mm,” and your affiant believes the

third firearm photograph to be an AK-47.

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       G.       Antwuan PUGH’s Facebook account “Twez Knockavitch”

       56.     In September of 2017, your affiant located the Facebook profile for Antwuan

PUGH under the alias “Twez Knockavitch” with a Facebook User ID number of

100013882987756. Affiant observed the photographs of the individual depicted on the profile

page and positively identified Antwuan PUGH. The most recent post on the page is a picture of

Antwuan PUGH which was posted publicly on October 28, 2017. 1 The picture posted on

October 28, 2017, shows Antwuan PUGH holding what appears to be a marijuana cigarette while

riding in a vehicle. Your affiant believes this is the same Facebook profile used to discuss the

shooting that was previously described previously in this affidavit.

       57.     On January 22, 2018, your affiant observed the previous Facebook profile “Twez

Knockavitch,” had been changed to a different name. The name associated with the Facebook

page listed as “Deshaun Robinson.” Regardless of the name change, your affiant observed the

profile picture of this page and the photo of Antwuan PUGH remained as the profile picture.

Your affiant is aware that the process to change one’s name on Facebook is as simple as clicking

on “settings” and then “edit name.” Your affiant checked the URL and Facebook ID for the page

“Deshaun Robinson.” The URL and Facebook ID are identical for the previous page “Twez

Knockavitch” and the current profile page “Deshaun Robinson.”

       58.     On January 22, 2018, your affiant obtained a federal search warrant for the

contents of the Facebook page “Twez Knockavitch” with a corresponding Facebook ID of




1
  The former Facebook profile for “Twez Knockavitch” and current profile “Deshaun Robinson”
are not open to the public.

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100013882987756. The warrant was authorized by the Honorable Judge William E. Duffin.

Your affiant examined the contents of the Facebook report provided by Facebook on February

12, 2018. The following posts were located within the contents of the Facebook page “Twez

Knockavitch:” On July 9, 2017, the profile “Dashaun Robinson” provided “                     ” with

the phone number for Antwuan PUGH stating, “I don’t be on this page call me when u get a

chance.” In October 2017, on this page conversations occurred between Antwuan PUGH and

others regarding the sale of a firearm and marijuana.

       H.      Antwuan PUGH’s Facebook Account “Tywaun Knockavitch” (Re-filed on
               May 30, 2018)

       59.     On May 30, 2018, your obtained a federal warrant for updated content on the

Facebook page “Tywaun Knockavitch.” The contents of the Facebook report provided from

Facebook, Inc. covered the date range of August 25, 2017 through May 30, 2018. A review of

these contents revealed that Antwaun PUGH has continued to traffic in illegal substances and

firearms.

       60.     On May 30, 2018, “Tywaun Knockavitch” and “                  ” discussed “

      ” purchase of pills from Antwuan PUGH. In this conversation, Antwuan PUGH also

attached a picture of the pill bottle, and at one point indicated that he also needed to contact

Antwuan PUGH’s brother, “You hit bro.” Throughout the chats, with different individuals,

continued to have conversations regarding the sale of pills.

       61.     On May 24, 2018, the profile “Tywaun Knockavitch” posted a photograph of a

state of WI identification card for Antwaun PUGH, with the address listed at 82        N. 107th St.,




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Apt. # 205, Milwaukee, WI, 53224.




       62.     On May 12, 2018, in a chat between “Tywaun Knockavitch” and “

        ,” “Tywaun Knockavitch displayed a photograph of a firearm. Based upon the chat, your

affiant believes that Antwaun PUGH traded pills for the firearm stating, “Just got it from my

nigga I gave his all the pills…”


                              Tywaun Knockavitch: (Sent photo)




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         63.   Between the dates of September 8, 2017, and April 22, 2018, the profile page

“Tywaun Knockavitch” on six separate occasions provided the address “82          n 107” to various

Facebook users when providing directions to them. Your affiant believes this further

corroborates that Antwaun PUGH resides at 82         N. 107th St., # Apt.   , Milwaukee, WI,

53224.

         I.    Kenyon PUGH’s Facebook account search warrant for the page “Keyon
               Quintel”

         64.   Your affiant obtained a Facebook search warrant for the page “Keyon Quintel” on

July 12, 2018. The warrant was authorized by the Honorable Judge William E. Duffin. Your

affiant had compared photographs on the page to a Milwaukee Police Department booking

photograph of Kenyon PUGH and the two appear identical.

         65.   Your affiant reviewed the contents of the Facebook page and observed several

Facebook messages related to the sale and acquisition of prescription narcotics from Kenyon

PUGH. These posts occurred between the dates of October 6, 2017 and July 12, 2018. In this

date range there are approximately 15 messages related to Kenyon PUGH’s attempts to purchase

prescription pills. The following conversations are examples of the messages stated by Kenyon

PUGH. For example, on May 26, 2018, “                                        informed “Kenyon

Quintel” that “White 20 s perks n tramadol are around if u need em.”

         66.   In addition to the messages related to the prescription narcotics, your affiant has

observed photographs and conversations related to firearms on the Facebook page “Keyon

Quintel.” Kenyon PUGH is a convicted felon and is prohibited from possessing firearms. On

January 12, 2018, the profile “Keyon Quintel” sent two separate photos of two different apparent


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firearms to another Facebook user. A conversation then ensued regarding the price of those

firearms.

         67.      Throughout the Facebook messages, Kenyon PUGH utilized the page “Keyon

Quintel” to provide his address to various individuals. Between June 12, 2017 and April 26,

2018, on six (6) separate occasions when asked for his address “Keyon Quintel” provided “39

W Good Hope Rd.”

         J.       Controlled Purchase of prescription narcotics from Kenyon PUGH

         68.      On August 17, 2018, your affiant participated in a controlled purchase of

prescription narcotics from Kenyon PUGH. A controlled purchase is an operation conducted by

law enforcement, the confidential source (CS) is searched prior to the operation so that no illegal

contraband can be introduced during the purchase. The CS is then provided money for the

purchase which will be used to obtain the illegal contraband (drugs, firearms etc.). After

purchase, the item will be handed them over to law enforcement. The CS is then searched once

more for contraband.

         69.      On August 17, 2018, a CS and an undercover agent drove to the area of N. 107th

St., and W. Brown Deer Rd., in Milwaukee County. 2 The CS met with Kenyon PUGH who

instructed the CS to meet him at a certain area. Kenyon PUGH indicated to the CS he needed to

obtain the pills, but that he would return and meet the CS. At this point in time, your affiant




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 I believe that the CS is truthful and reliable because the CS has made statements against the CS’ penal interest. In
addition, the CS’ information was corroborated by other evidence developed during the course of this investigtation.
The CS was working with law enforcement as a result of a municipal paraphernalia charge. The CS has previous
convictions for narcotic drugs; bail jumping; disorderly conduct (domestic abuse); and possession of heroin.

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observed Kenyon PUGH pull into the parking lot of 82        N. 107th St., Apt. #    , Milwaukee,

WI, and park the Green Infiniti SUV (WI Tag NV8477) he was driving. Kenyon PUGH and an

unidentified black female exited the vehicle and entered the common door that leads to Apt. #

205. Kenyon PUGH and the black female emerged from the residence approximately two

minutes later and drove back to meet the CS and the undercover agent. The CS provided Kenyon

PUGH the money and obtained 28 suuspected hydrocodone/acetaminophen pills (10 mg/325mg

each), 21 suspected alprazolam pills (2 mg each), and 3 suspected oxycodone hydrochloride pills

(30 mg each) which the CS turned over to law enforcement officers.

       70.     After the transaction occurred, the same Green Inifiti SUV previously driven by

Kenyon PUGH returned to 82        N. 107th St., Milwaukee, WI, and the same black female exited

the vehicle and entered into the common door that leads to Apt. # 2     . The black female soon

exited the residence and the Green Inifiti exited the parking lot and drove out of sight.

IV.    RESIDENCES

       71.     Based upon the foregoing, affiant believes that Antwaun PUGH resides at 82

N. 107th St., Milwaukee, WI, 53224: (1) PUGH uses this address as his residence on his state of

WI identification card; (2) on December 19, 2017, January 2, 2018, February 8, 2018, June 22,

2018, and on August 20, 2018 your affiant observed Antwaun PUGH coming to and from the

aforementioned residence; (3) Antwaun PUGH provided the aforementioned address to

Facebook users on six separate occasions between the dates September 8, 2017, and April 22,

2018; (4) my review of a WE Energies grand jury subpoena revealed that Antwaun PUGH had

an open account with WE Energies for the aforementioned address in May of 2018 (most recent



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information from WE). In addition, Affiant believes that Kenyon PUGH has free access to 82

N. 107th St., Apt. #       Milwaukee, WI, 53224.

       72.     Affiant believes that Kenyon PUGH resides at 39      W. Good Hope Rd., Apt #

Milwaukee, WI, 53209: because: (1) Kenyon PUGH uses this address on his State of Wisconsin

driver’s license; (2) State of Wisconsin Department of Corrections probation agents conducted a

residence check for Kenyon PUGH at 39       W. Good Hope Rd., Apt. # , Milwaukee, WI,

53209, on July 12, 2018 to verify his address; (3) Affiant has observed a Black Mazda CX-9

associated with Chaniqua L. BELL (B/F, DOB:            /1989) at the residence on July 17, 2018,

and again on August 20, 2018. BELL is the longtime suspected girlfriend of Kenyon PUGH; (4)

In the Facebook page “Keyon Quintel” Kenyon PUGH provided the address of “39            W Good

Hope Rd” to various individuals on approximately six separate occasions between the dates of

June 12, 2017 and April 26, 2018; and, (5) on August 20, 2018, affiant observed the same Green

Infiniti SUV with WI tag NV8477 (vehicle utilized for the controlled delivery) parked in the rear

parking lot of 39      W. Good Hope Rd., Apt. #    Milwaukee, WI, 53209, at approximately 6:30

p.m.

       73.     Affiant is also requesting to search all vehicles under apparent control of

Antwaun and Kenyon PUGH. This is to include keys located inside the residence that are linked

to vehicles in the parking lot controlled by the PUGH brothers. Affiant is aware that many

vehicles previously linked to the PUGH’s (affiants own observations) are registered to the

address located at 82     N. 107th St, Milwaukee, WI, 53224, in the name of Regina Ann PUGH

(mother of Antwuan and Kenyon PUGH). Affiant makes this request, in part, because Kenyon



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PUGH used the Green Inifiti (WI Tag NV8477) to conduct a narcotics transaction. That vehicle

is registered to Regina PUGH at 82     N. 107th St., Apt. #     Milwaukee, WI, 53224.

       74.     Affiant is also requesting the warrant be served in a “no knock” manner. Affiant

has observed on many occasions the propensity for the PUGH brothers to have access to

firearms. Affiant is aware that a “no knock” style warrant gives the occupants of a residence little

time to arm themselves thus making the warrant execution safer for law enforcement.

V.     CONCLUSION

       75.     Based upon my training, experience, and familiarity with the investigstion, affiant

believes that Antwuan PUGH and Kenyon PUGH utilized multiple modes of electronic

communication to conduct firearms and drug transactions. Affiant believes, based upon such

records and information, as detailed herein, that Kenyon PUGH, a previously convicted felon,

organized several firearms transactions via “Armslist,” and then used his brother, Antwuan

PUGH, a non felon, to conduct the actual transaction with the seller of the firearm. Affiant

believes that Antwuan PUGH was actively engaged in the distribution of firearms along with his

brother Kenyon PUGH.

       76.     Affiant is aware that someone who purchases firearms on behalf of a prohibited

person is called a “straw purchaser.” The straw purchaser conducts the transaction so as to not

be detected by law enforcement. The straw purchaser then distributes the firearm or firearms

accordingly to other individuals who are often prohibited from lawfully possessing firearms.

Affiant reasonably believes that Antwuan PUGH was acting as a straw purchaser for his brother

Kenyon PUGH. Affaint believes that records of these transactions, are stored at Antwaun


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PUGH’s residence located at 82      N. 107th St., Apt. #    , Milwaukee, WI, 53224, and Kenyon

PUGH’s residence located at 39      W. Good Hope Rd., Apt. # , Milwaukee, WI, 53209.

       77.     The above examples of conversations, reports, and cell phone forensic

examination have led your affiant to believe that Antwuan and Kenyon PUGH are involved in

the illegal purchase and distribution of firearms in addition to the sale of controlled substances. I

respectfully request that the aforementioned residences be searched for the following crimes; (1)

possession of a firearm by a prohibited person in violation of Title 18, United States Code,

Section 922(g)(3); (2) possession of a firearm by a felon in violation of Title 18, United States

Code, Section 922(g)(1); (3) and selling or disposing of any firearm or ammunition to a known

felon, in violation of Title 18, United States Code, Section 922(d)(1); (4) dealing firearms

without a license, in violation of Title 18 United States Code, Section 922(a)(1); and (5)

possession with intent to distribution controlled substances in violation of Title 18, United States

Code, Section 841(a)(1).




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